
65 So. 3d 604 (2011)
Timothy THOMAS, III, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D11-1972.
District Court of Appeal of Florida, Fifth District.
July 15, 2011.
*605 Robert Wesley, Public Defender and Chalon Carroll Young, Assistant Public Defender, Orlando, for Appellant.
No Appearance for Appellee.
PER CURIAM.
The petition for belated appeal is granted. A copy of this opinion shall be filed with the trial court and be treated as the notice of appeal from the judgment and sentence in case number CF09-13807-O, in the Circuit Court in and for Orange County, Florida. See Fla. R.App. P. 9.141(c)(5)(D).
PETITION GRANTED.
PALMER, LAWSON and COHEN, JJ., concur.
